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 1                                                        November 17, 2021

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 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
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                                               Case No. 5:21-cv-01585 SB (KKx)
10   ALLSTATE INSURANCE
     COMPANY,                                  ORDER OF DISMISSAL WITH
11                                             PREJUDICE
12
                                Plaintiff,
13
14   v.
15   HOME DEPOT U.S.A., INC. and
16   DOES 1 to 20,
17                              Defendants.
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19
20         Having reviewed the Parties’ Stipulation for Dismissal with Prejudice, the
21   Court hereby grants the Parties’ request and dismisses Case No. 5:21-cv-01585 SB
22   (KKx) in its entirety with prejudice.
23
24         IT IS SO ORDERED.
25
26   Dated: November 17, 2021         _______________________________________
27                                         STANLEY BLUMENFELD, JR.
                                         UNITED STATES DISTRICT JUDGE
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